Case 1:19-cr-00018-ABJ Document 287 Filed 02/11/20 Page 1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
V.
ROGER J. STONE, JR.,

Defendant.

 

 

Crim. No. 19-CR-00018 (ABJ)

NOTICE OF WITHDRAWAL

Pursuant to Local Rule of Criminal Procedure 44.5(e), please notice the withdrawal of

Michael J. Marando as counsel for the government in the above-captioned matter.

February 11, 2020

Respectfully submitted,

y—

Michael J. Marando

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